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   Form 210B (12/09, as revised 1/4/17)

                       United States Bankruptcy Court
                       District Of 1HZ-HUVH\
   In re ______________________________,
          Temeko and Michelle Foster               Case No. ________________
                                                             19-27085




        NOTICE OF TRANSFER OF CLAIM OTHER THAN FOR SECURITY
   Claim No. _____
                8 (if known) was filed or deemed filed under 11 U.S.C. § 1111(a) in this case by the
   alleged transferor. As evidence of the transfer of that claim, the transferee filed a Transfer of Claim
   Other than for Security in the clerk’s office of this court on ________________________.
                                                                       October 11, 2024

    Fair Square Financial LLC                                          Resurgent Receivables LLC
   Name of Alleged Transferor                                          Name of Transferee

   Address of Alleged Transferor:                                      Address of Transferee:
    Resurgent Capital Services                                         Resurgent Receivables LLC
    PO Box 10368                                                       PO Box 10587
    Greenville, SC 29603-0368                                          Greenville SC 29603

                                ~~DEADLINE TO OBJECT TO TRANSFER~~
   The alleged transferor of the claim is hereby notified that objections must be filed with the court
   within twenty-one (21) days of the mailing of this notice. If no objection is timely received by the
   court, the transferee will be substituted as the original claimant without further order of the court.




   Date:______________________
         October 15, 2024                                           Jeanne A. Naughton
                                                                   CLERK OF THE COURT
